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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                         Case No. 4:20-cr-103
 v.
 RYAN DON ANDREW FORD,                               APPEAL OF DETENTION ORDER
                  Defendant.

       COMES NOW, the defendant, Ryan Ford, through counsel, pursuant to 18 U.S.C. §

3145, and hereby appeals the order of detention issued on June 29, 2020 by United States

Magistrate Judge Celeste F. Bremer (Docket No. 19), that ordered the defendant to be detained

during the pendency of this case. Mr. Ford argues that he rebutted the statutory presumption of

detention in this case, and that there are conditions of release available sufficient to reasonably

assure his appearance at court proceedings, and the safety of the community, if he is released

from custody to pretrial supervision. The transcript of the detention hearing has been ordered to

assist in review of this appeal, and a brief in support of release is attached.

                                               Respectfully submitted,

                                                /s/ Joseph Herrold
                                               Joseph Herrold, Asst. Federal Defender
                                               FEDERAL PUBLIC DEFENDER’S OFFICE
                                               400 Locust Street, Suite 340
                                               Des Moines, Iowa 50309-2353
                                               PHONE: (515) 309-9610
                                               FAX: (515) 309-9625
                                               E-MAIL: joe_herrold@fd.org
                                               ATTORNEY FOR THE DEFENDANT
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2020, I electronically filed this document with the Clerk
of Court using the ECF system which will serve it on the appropriate parties.

                                              /s/ Morgan Conn, Paralegal




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